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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                   Central Division
STONE WORKS, LLC,                                    )
                                                     )
                       Plaintiff,                    )
                                                     )
v.                                                   )       Case No. 4:21-CV-00941-JM
                                                     )
RANDY SIMS, MEGAN SIMS;                              )
WILLIAM THOMAS;                                      )
STONE CONCEPTS LLC;                                  )
MARTY HESCH; and EDWARD FRALEY,                      )
                                                     )
                       Defendants.                   )

     PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO RESPOND TO MOTION
          FOR SUMMARY JUDGMENT OF DEFENDANT EDWARD FRALEY

        COMES NOW Plaintiff, Stone Works, LLC, by and through undersigned counsel,

pursuant to Rules 6(b) and 56(d) of the Federal Rules of Civil Procedure, and moves this Court

for an order to extend time to file their Response to Motion for Summary Judgment of Defendant

Edward Fraley. In support hereof, Plaintiff states the following:

        1.      Defendant Edward Fraley filed and served electronically his Motion for Summary

Judgment – with corresponding exhibits – on March 15, 2022. Defendant Fraley attached a

supporting Declaration dated March 3rd, 2022, but which was not produced until March 15 th,

2022.

        2.      Pursuant to the Federal Rules of Civil Procedure and Local Rule 7.2(b), Plaintiff’s

response is due on or before March 29, 2022. Plaintiff requires additional time to present facts to

justify its opposition to summary judgment and to dispute Defendant Fraley’s declaration.
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       3.      As part of the parties’ Rule 26(f) Conference, the parties agreed to produce

mandatory disclosures by January 17, 2022. See Report of 26(f) Planning Meeting, filed on

January 10, 2022.

       4.      Plaintiff was the only party to abide by the agreed upon deadline of January 17,

2022 and provide initial disclosures to other parties.

       5.      The Court then entered a Final Scheduling Order on January 31, 2022, ordering

all discovery to be complete by June 6, 2022. All motions – including dispositive motions - are

to be filed by June 29, 2022.

       6.      Failing to abide by the dates agreed to by the parties in the Rule 26(f) conference,

Defendant Edward Fraley served initial disclosures on Plaintiff on March 14, 2022, nearly two

months after the agreed upon date and less than 24 hours prior to filing his Motion for Summary

Judgment, as set forth above, in a clear attempt to railroad the process of Plaintiff’s ability to

conduct thorough discovery.

       7.      The disclosures failed to include Defendant Fraley’s Declaration and merely

identified documents supporting his claims as “text messages” and “e-mails.” No documents

were attached. In support of his Motion for Summary Judgment Defendant Fraley produced a

single text message and a single email with the remaining emails redacted.

       8.      As set forth and detailed in the attached Rule 56(d) Affidavit, there are numerous

issues that necessitate continued discovery of which Plaintiff is entitled, some of which were

created by Defendant Fraley in his own “Declaration”. (See Exhibit 1 – Rule 56(d) Affidavit of

Timothy Giattina)

       9.      The parties recently began exchanging written discovery and attempting to

schedule depositions. Currently, the deposition of Defendant Edward Fraley is noticed for
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Friday, April 1, 2022, and the deposition of Defendant Marty Hesch is noticed for March 31,

2022. Interrogatories and Requests for Productions of documents to Fraley and Hesch are also

pending.

       10.     As discovery is ongoing, Counsel for Plaintiff has attempted to confer with

Counsel for Defendants to obtain an extension of sixty (60) days in which to respond to

Defendant’s Motion for Summary Judgment. Counsel for Defendants did not agree to the

requested extension.

       11.     As set forth above, Defendant Edward Fraley is attempting to railroad Plaintiff

from conducting discovery process so as to preclude Plaintiff from fully investigating claims as

more fully detailed in the accompanying Rule 56(d) Affidavit. See Exhibit 1 – Rule 56(d)

Affidavit of Timothy Giattina.

       WHEREFORE, Plaintiff respectfully requests the Court for an Order extending the time

to file a Response to the Motion for Summary Judgment of Defendant Edward Fraley until May

23rd, 2022. Such extension will not prejudice Defendant Fraley.

                                             Respectfully submitted,

                                             STONE WORKS, LLC

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                                CERTIFICATE OF SERVICE
        I, Timothy J. Giattina, do hereby certify that a copy of the foregoing has been served, on
the following counsel of record via electronic filing and electronic mail on this 24 th day of
March, 2022:
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                                                     /s/ Timothy J. Giattina
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